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                                                                                 United States Bankruptcy Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                    IN THE UNITED STATES BANKRUPTCY COURT                           December 09, 2024
                      FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                               HOUSTON DIVISION

IN RE:                              §
                                    §                  CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                                §                  CHAPTER 7
                                    §
        Debtor.                     §
                                    §
JOHN QUINLAN, OMAR KHAWAJA,         §
AND OSAMA ABDULLATIF,               §
                                    §
        Plaintiffs,                 §
                                    §
VS.                                 §                  ADVERSARY NO. 23-3141
                                    §
JETALL COMPANIES, INC., ARABELLA §
PH 3201 LLC, 9201 MEMORIAL DR. LLC, §
2727 KIRBY 26L LLC, DALIO HOLDINGS §
I, LLC, DALIO HOLDINGS II, LLC,     §
HOUSTON REAL ESTATE PROPERTIES, §
LLC, SHAHNAZ CHOUDHRI, ALI          §
CHOUDHRI, SHEPHERD-HULDY            §
DEVELOPMENT I, LLC, SHEPHERD-       §
HULDY DEVELOPMENT II, LLC,          §
GALLERIA LOOP NOTE HOLDER LLC, §
MOUNTAIN BUSINESS CENTER, LLC, §
RANDY W WILLIAMS CH7 TRUSTEE,       §
OTISCO RDX LLC, MCITBE, LLC.        §
JETALL/CROIX PROPERTIES LP,         §
AND JETALL/CROIX GP, LLC,           §
                                    §
        Defendants.                 §

                                           ORDER

       On December 2, 2024, the Court ordered that any responses to Plaintiffs’ Motion for Leave,
or in the Alternative, for Extension to File Motion for Final Summary Judgment (ECF No. 347)
must be filed by December 6, 2024. If there were no responses, the motion would be granted. No
response has been filed.




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           THEREFORE, IT IS ORDERED that the Motion for Leave, or in the Alternative, for
Extension to File Motion for Final Summary Judgment is GRANTED, allowing the extension of
time to file a motion for summary judgment to November 30, 2024.
           IT IS FUTHER ORDERED that hearing is set on the Motion for Final Summary
Judgment (ECF No. 348) at 11:00 a.m. on January 13, 2025, in Courtroom 403, United States
Courthouse, 515 Rusk St., Houston, Texas. The response deadline is 5:00 p.m. on January 6, 2025.
Requested relief that is unopposed by written response prior to the response deadline may be ruled
on without the necessity of a hearing. The Court may grant or deny any relief sought in any
motion/application or objection without hearing based on responsive pleadings. The movant shall
serve a copy of this order on all affected parties within 24 hours and file a certificate of service; or
file and serve a hearing notice within 24 hours, which must include the response deadline.
           IT IS FURTHER ORDERED that the trial currently scheduled for December 16, 2024 is
continued to March 25, 2025 at 9:00 a.m. Two days are reserved for trial. All other deadlines in
the Order Scheduling Trial (ECF 149) remain in effect.
           Parties should reference the Court’s website for in person hearing requirements and
connection instructions for virtual appearances.1
           SO ORDERED.
            SIGNED 12/09/2024


                                                             ___________________________________
                                                             Jeffrey Norman
                                                             United States Bankruptcy Judge




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    https://www.txs.uscourts.gov/page/united-states-bankruptcy-judge-jeffrey-p-norman

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